













NUMBER 13-07-743-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


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HI-TECH IRRIGATION, INC., 	Appellant,


v.



GENE MITTAG,	Appellee. 

_____________________________________________________________


On appeal from the County Court at Law No. 5


 of Hidalgo County, Texas.


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MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Rodriguez, and Benavides


Memorandum Opinion Per Curiam


	Appellant, Hi-Tech Irrigation, Inc., perfected an appeal from a judgment entered by
the County Court at Law No. 5 of Hidalgo County, Texas, in cause number CL-04,2921-E. 
Appellant has filed a motion to dismiss the appeal on grounds that the trial court has
granted appellant's motion for a new trial.  Appellant requests that this Court dismiss the
appeal.

	The Court, having considered the documents on file and appellant's motion to
dismiss the appeal, is of the opinion that the motion should be granted.  See Tex. R. App.
P. 42.1(a).  Appellant's motion to dismiss is granted, and the appeal is hereby DISMISSED. 
Costs will be taxed against appellant. See Tex. R. App. P. 42.1(d) ("Absent agreement of
the parties, the court will tax costs against the appellant.").  Having dismissed the appeal
at appellant's request, no motion for rehearing will be entertained, and our mandate will
issue forthwith.

									PER CURIAM

Memorandum Opinion delivered and

filed this the 11th day of December, 2008. 





	


